 Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 1 of 23                    PageID #: 1




                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE


GEORGE LODER,                                              )
                                                           )
             Plaintiff                                     )
                                                           )
             v.                                            )
                                                           )
                                                           )
MAINE INTELLIGENCE ANALYSIS CENTER                         )
State of Maine, Department of Public Safety                )
                                                           )
JOHN COTE, CHIEF OF MAINE STATE POLICE                     )
In his official capacity                                   )
                                                           )
SCOTT IRELAND                                              )
                                                           )
MICHAEL JOHNSTON                                           )
                                                           )
                                                           )
             Defendants                                    )



                    COMPLAINT AND DEMAND FOR JURY TRIAL


      Plaintiff George Loder complains against defendants as follows:

                                              Parties

    1. Plaintiff George Loder is a citizen of the United States, resident of Scarborough, Maine,

        and currently works as a State Trooper for the Maine State Police. (Sometimes

        hereinafter referred to as “Loder”)

    2. Defendant Maine Intelligence Analysis Center, State of Maine, Department of Public

        Safety, (sometimes herein referred to as “MIAC’) is an agency created by Executive

        Order dated December 8, 2006 for the purpose of ensuring that Homeland Security

        intelligence information is appropriately shared between federal, state, county, local


                                                1
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 2 of 23                  PageID #: 2




     and tribal authorities.

  3. The MIAC is funded in part using federal dollars from the Homeland Security Grant

     Program (HSGP), the Department of Justice’s High Intensity Drug Trafficking Area

     (HIDTA) and the BJA’s Edward Byrne Memorial Justice Grant, among others.

  4. Six civilian analyst positions in the MIAC are funded entirely through federal grants

     where compliance with 28 CFR part 23 is a special condition.

  5. By accepting federal funds, the MIAC is bound to comply with federal law, including

     the Privacy Act, 5 U.S.C.§ 552a, other related statutes, and 28 C.F.R. § 23.

  6. Col. John Cote is Chief of the Maine State Police and responsible for day to day

     management of the MIAC.

  7. The Maine State Police is the designated state point of contact (POC) to initiate

     background checks on individuals possessing or receiving firearms mandated by the

     Brady Handgun Violence Prevention Act (Brady Act) of 1993, Public Law 103-159,

     and the National Instant Criminal Background Check System (NICS).

  8. As the NICS POC the Maine State Police act as agent for the Federal Bureau of

     Investigation and bound by federal laws including the Privacy Act, 5 U.S.C.§ 552a,

     other related statutes, and 28 C.F.R. § 23.

  9. By contracting with and/or working on behalf of the Federal Bureau of Investigation

     (“FBI”) the MIAC is an “agency” as defined in 5 USC §552(f)(1) and/or otherwise

     bound by federal law.

  10. Scot Ireland is a lieutenant for the Maine State Police and supervisor of the MIAC and

     Loder.

  11. Michael Johnston is a sergeant for the Maine State Police and supervisor of the MIAC.



                                             2
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 3 of 23                    PageID #: 3




  12. Defendants maintain a “system of records” as that term is defined in 5 U.S.C.§ 552a(5)

                                     Nature of Claim

  13. George Loder reported to defendants that the MIAC is engaging in unlawful activity

     with respect to the collection, transmission, management, and retention of citizens data

     and was removed from the Joint Terrorism Task Force, retaliated against and demoted.

  14. Data that Loder reported to be unlawfully collected, managed and retained by

     defendants includes the social and/or political activity of Seeds of Peace counselors and

     staff, the use of an automated license plate recognition system, a de facto gun registry,

     criminal investigations and otherwise private information related to lawful activity of

     people exercising their civil rights.

  15. This lawsuit challenges the legality of Loder’s removal from the Joint Terrorism Task

     Force (“JTTF”) under the Whistleblower Protection Act, and alleges violations of

     federal and state civil rights laws and the constitution.

  16. Loder seeks redress for civil liberties lost, damages, attorneys fees and an injunction.

                                Administrative Proceedings

  17. Loder exhausted his available administrative remedies by filing a Charge of

     Discrimination with the Maine Human Rights Commission that issued a Right to Sue

     Letter dated November 21, 2019.

  18. Loder filed a Notice of Tort Claim with Janet T. Mills. Attorney General and Colonel

     John E. Cote of the State Police dated November 9, 2018.

  19. Actions pursuant to 5 U.S.C. §552a(g)(1)(C)and (D) do not require exhaustion of any

     administrative remedies, or

  20. In the alternative, Loder has exhausted his administrative remedies pursuant to 5 U.S.C.



                                              3
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 4 of 23                    PageID #: 4




      §552a.

                                             Jurisdiction

  21. This Court has original jurisdiction under 28 U.S.C. §1331 and 5 U.S.C. §552a(g).

 22. This Court has concurrent jurisdiction to hear plaintiff’s state law claims pursuant to 28

    U.S.C. §1367.

                                             Venue

  23. Venue is proper in this Court pursuant to 28 U.S.C. §1391 because all events giving

      rise to plaintiff’s claims occurred in this District.

                                   Demand for Jury Trial

  24. Plaintiff demands a trial by jury of all claims to the extent allowed by law.

                                             Facts

  25. George Loder was hired by the Maine State Police in 1994 and remains employed there

      presently.

  26. At all relevant times Loder has performed the duties of his jobs satisfactorily.

  27. In December 2011, Loder applied for but was not selected for a detective’s position

      assigned to the FBI’s Joint Terrorism Task Force (JTTF).

  28. The JTTF investigates reports of terrorism-related activities in Maine.

  29. In February 2012 Loder applied for a field agent’s position with the Maine Information

      Analysis Center (MIAC) and was selected. This position was contingent upon

      successful completion of a federal background check to obtain a security clearance at

      the “Secret” level.

  30. In late 2012, the JTTF position became available for a second time and the vacancy

      announcement was reposted. Loder reapplied and was selected for transfer to the JTTF.



                                                4
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 5 of 23                    PageID #: 5




      According to the job posting, the JTTF position was “under the supervision of the

      Maine Information and Analysis Center (MIAC), and on Temporary Duty (TDY) to the

      Joint Terrorism Task Force (JTTF) located in Portland, ME. This will be considered a

      fixed duty position with the duty position being Portland…” (emphasis added)

  31. This position on the JTTF was contingent upon Loder being able to successfully pass a

      second federal background check, to include a polygraph examination and full

      disclosure of all his finances in order to obtain a security clearance at the “Top Secret –

      SCI” level, considerably higher than the “Secret” level required by the MAIC.

  32. In early 2013, Loder was accepted for assignment to the FBI’s Joint Terrorism Task

      Force (JTTF).

  33. The JTTF assignment was a TDY from the Maine State Police (not the MIAC) that - on

      paper anyway – was supervised by the State Police Sergeant in the MIAC. The “under

      the supervision of” the MIAC is further defined in a Memorandum of Understanding

      between the Maine State Police and the FBI, which indicates that Loder was to answer

      to the MIAC supervisor for administrative purposes (payroll, state-required training,

      etc.) and the FBI supervisor for operational purposes.

  34. The MIAC and JTTF are distinct entities. The position Loder had as a JTTF member

     was governed by a Memorandum of Understanding between the FBI and the Maine

     State Police, whereas the relationship between the FBI and the MIAC is spelled out in a

     different MOU.

  35. The MIAC is not a law enforcement agency and does not enforce the law or conduct

      criminal investigations. Its purpose is to receive, analyze and share information

      between agencies and make recommendations to the Governor and the Maine



                                              5
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 6 of 23                     PageID #: 6




      Homeland Security Council.

  36. The Executive Order dated December 8, 2006 that established the MIAC states: “For

      the management of intelligence sharing between and among partners, the MIAC shall

      conform to all existing rules and statutes relating to the handling of sensitive

      intelligence information, including but not limited to the rules of intelligence sharing

      articulated in Section 28 of the Code of Federal Regulations Part 23.”

  37. The MIAC maintains an “index pointer” type of Multijurisdictional Criminal

      Intelligence Database and provides information to outside entities on by request. This

      database contains Personal Identifying Information (PII) and is administered by all

      MIAC personnel, including the federally funded civilian analysts.

 38. The following is an excerpt from the FBI’s training manual for the Task Force Officer

    (TFO) position at the JTTF : (U) As a deputized Task Force Officer you will be afforded

    all rights and responsibilities of a Special Agent. There are caveats that you will need to

    be cognizant of, in the cross-over of responsibilities from Local/State Law Enforcement

    Officer (LEO) to Federal LEO. All caution and prudence should be used when utilizing

    your authority as a Federal LEO. When handling federal matters, do so in a manner that

    is consistent with all rules and regulations of an FBI Special Agent. Vice versa, when

    handling “state” matters, do so consistent with the local/state rules and regulations. Be

    very cautious never to cross over. When in doubt, please as the Chief division Counsel

    situated within your FBI Field Officer.

 39. Loder’s job responsibilities were never as depicted in the Performance Management

    Forms provided by the state. His “job description” as it appeared on the job posting was

    largely copied from that of a Planning and Research Associate II. In February of 2015,



                                              6
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 7 of 23                  PageID #: 7




    Loder met with then-MIAC supervisor, Sgt. Carlton Small, in a coffee shop in downtown

    Portland. Sgt. Small explained that the State Police had not conducted any performance

    evaluations for him since he transferred to the JTTF, while his work performance had

    been reviewed at regular intervals by the FBI supervisor, SSRA Aaron Steps, with

    favorable ratings.

 40. Sgt. Small then produced the performance evaluations for 2012, 2013, 2014, and 2015

    and asked Loder to sign them.

 41. The job descriptions in Loder’s 2016 and 2017 evaluations contain only “Assignment to

    the Joint Terrorism Task Force.”

  42. On March 13, 2017 Johnston emailed A.U.S.A. Richard Murphy and asked for

      feedback about Loder for purposes of completing a personnel evaluation.

  43. Murphy wrote on March 14, 2017 “I worked with George on one major investigation

     during 2015-16. He was the affiant on a fairly involved search warrant and assisted in

     other court process. I found George responsive, enthusiastic and a pleasure to work

     with.”

  44. In early to mid-2017, Loder learned that Maine State Police Sgt. Michael Johnston

      made a policy change whereby all State Police personnel were given direct access

      Maine Drug Enforcement Agency intelligence files, including many that revealed the

      identity of active confidential informants.

  45. Believing these disclosures were made in error and violation of the law, Loder called

      Sgt. Johnston and expressed his concern that such disclosures were illegal. Johnston

      became annoyed and stated “They (confidential informants) chose to cooperate with the

      police.”



                                              7
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 8 of 23                  PageID #: 8




  46. Shortly thereafter on the morning of November 14, 2017, Loder received a telephone

     call from Sgt. Johnston, who said that henceforth Loder was to take part in weekly

     MIAC meetings via conference call.

  47. Loder was instructed by Johnston to give a summary of his active criminal and national

     security cases, allegedly to better involve the MIAC staff in those investigations.

  48. The MIAC staff consists of both civilian and sworn law enforcement personnel from

     several different federal and state agencies.

  49. Loder told Sgt. Johnston that he could not comply with the directive to share

     information as presented because it would be a violation of the law, specifically the

     Privacy Act and related regulations, among other things.

  50. Loder told Johnston, for instance, he was at that time reviewing returns from a grand

     jury subpoena and not at liberty to discuss the content without approval from the court.

     Loder also told Johnston there were administrative and accounting requirements he had

     to follow before disclosing any information contained in FBI files. Requests for

     information are required to be in writing.

  51. Johnston became angry and said words to the effect that “at the end of the day you are

     still a member of the State Police and I’m your supervisor,” and questioned the “value

     of having a State Police Detective go around pretending to be an FBI Agent.”

  52. The implication was that if Loder did not comply with the order to share information

     there would be retribution.

  53. Prior to November 2017, as a member of the JTTF Loder had limited interaction with

     the MIAC.




                                             8
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 9 of 23                    PageID #: 9




  54. Following the November 14, 2017 phone call, Johnston sent Loder an email instructing

      him to acknowledge the directive to attend MIAC staff meetings and included the

      statement, “the purpose of this meeting is to share information with other members of

      the unit and to increase situational awareness of MIAC’s activities. Your guidance as to

      share relevant information that is in full compliance with any FBI policies, regulations

      or guidelines in addition to applicable federal laws. Basically I defer to your judgment

      on what you feel is appropriate, relevant and reasonable to share.”

  55. The November 14, 2017 email was copied to Aaron Steps at the FBI, and at the bottom

     Johnston wrote, “Aaron, feel free to contact me if you have any questions.”

  56. Following November 14, 2017, Loder did his best to comply with Johnston’s directive

      without making any disclosures that violated the law or FBI policy.

  57. While attending some of these staff meetings, Loder learned that the MIAC completely

      ignores its own privacy policy, the federal Privacy Act, and that it regularly engages in

      violations of state law, federal law, and rules of criminal procedure.

  58. To wit, Loder learned that MIAC retains and shares personal information on individuals

      who are not suspected of engaging in any criminal or terrorist activity, including

      information that would otherwise require a subpoena or warrant to obtain.

  59. Loder learned that MIAC routinely monitors the social media accounts and/or conducts

      background checks on individuals associated with lawful public protests, frequently

      citing a pretextual criminal offense (subjects may litter during the protest, for example)

      to justify the collection. MIAC then retains all the data collected even after finding no

      indication of a threat, hazard, or criminal activity.




                                               9
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 10 of 23                   PageID #: 10




   60. Upon information and belief in September 2018, MIAC was monitored protests against

      the controversial new Central Maine Power transmission line project and shared

      information with CMP - and now there’s a CMP executive on MIAC’s oversight

      committee.

   61. Loder learned that data collected by an automated license plate recognition system is

      unlawfully retained and otherwise in violation of 29-A M.R.S. § 2117-A.

   62. Statutory limits on when license plate data can be used, such as protecting public safety

      or an active criminal investigation based upon articulable facts suggesting criminal

      activity 29-A MRSA sec 2117-A are thwarted by agreements the State Police/MIAC

      have with agencies in other states having plate readers to provide information on Maine

      registered vehicles found to make frequent or quick trips to certain source cities (New

      York City, Hartford, Lawrence). The owners of the vehicles are screened as possible

      drug couriers. The information is mined from the license plate data of the other

      agencies by computer without any pre-existing suspicion of criminal activity.

   63. Loder learned that MIAC conducts electronic surveillance of people’s social media and

      other accounts and permanently retains personal and private information on those

      individuals because they engaged in constitutionally protected activity such as

      participating in a lawful protest or purchasing a firearm.

   64. Loder learned that MIAC unlawfully maintains records about people who lawfully

      purchase firearms indefinitely, contrary to federal and state law.

   65. Mandated by the Brady Handgun Violence Prevention Act (Brady Act) of 1993, Public

      Law 103-159, the National Instant Criminal Background Check System (NICS) was

      established for Federal Firearms Licensees (FFLs) to contact by telephone, or other



                                             10
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 11 of 23                  PageID #: 11




      electronic means, for information to be supplied immediately on whether the transfer of

      a firearm would be in violation of Section 922 (g) or (n) of Title 18, United States

      Code, or state law.

   66. The NICS is a national system that checks available records on persons who may be

      disqualified from receiving firearms. The FBI developed the system through a

      cooperative effort with the Bureau of Alcohol, Tobacco, Firearms and Explosives

      (ATF) and local and state law enforcement agencies.

   67. The NICS is a computerized background check system designed to respond instantly

      on most background check inquiries, so the FFLs receive an almost immediate

      response.

   68. Depending on the willingness of state governments to act as agent for the NICS, the

      FFLs contact either the FBI or a designated state point of contact (POC) to initiate

      background checks on individuals possessing or receiving firearms.

   69. Located at the FBI’s Criminal Justice Information Services Division in Clarksburg,

      West Virginia, the NICS Section processes background checks for the FFLs in those

      states that have declined to serve as POCs for the NICS.

   70. In states like Maine where the State Police have agreed to serve as the POC for the

      system, the FFLs contact the NICS through the State Police for all firearm transfers.

   71. The State Police conduct the NICS check and determine whether the transfer would

      violate state or federal law.

   72. Federal law requires the NICS and states acting as the POC for the system to destroy

      information about an inquiry resulting in an allowed transfer, but MIAC maintains the

      data contrary to state and federal law.



                                                11
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 12 of 23                  PageID #: 12




   73. The Maine State Police as the POC for the NIC system maintains in its MIAC database

      information about the lawful purchase of guns by citizens, essentially creating a

      registry, in violation of state and federal law.

   74. Loder discovered that the Maine State Police report background check findings to the

      FBI/NICS but instead of thereafter destroying the information as required by law, it is

      entered into the MIAC database indefinitely.

   75. Loder learned that MIAC circumvents the accounting requirements of the Privacy Act

      and related state and federal laws in the maintenance of its data base.

   76. On March 21, 2018, Loder attended training on federal rules for discovery put on by the

      U.S. Attorney’s Office where there was discussion about when the involvement of an

      outside agency in the investigative process triggers a review of that agency’s records

      for Brady material.

   77. On March 26, 2018, Loder met with Johnston at the FBI Office in Portland for his

      annual performance evaluation. While waiting for FBI SSRA Aaron Steps to arrive, a

      comment was made that it might be the last State Police performance evaluation Loder

      would receive because he would soon be eligible for retirement.

   78. Johnston then asked Loder what his plans were for the year and in the conversation it

      was mentioned that Detective David Pelletier (MIAC) would be retiring in a few

      months. At no time did Johnston say anything about Loder replacing Pelletier.

   79. Loder told Johnston on March 26th that he wished to remain on the JTTF but would

      considering a vacancy that had been recently posted for a Detective in the Major

      Crimes Unit if remaining at the JTTF was not possible.




                                              12
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 13 of 23                   PageID #: 13




   80. Johnston told Loder on March 26, 2018 there was no reason Loder could not remain on

       the JTTF if that is what he wanted.

   81. SSRA Steps and Sgt. Johnston then reviewed Loder’s work performance for the last

       year and he was given a favorable evaluation.

   82. After SSRA Steps excused himself due to another commitment, Sgt. Johnston

       proceeded to go over a few new “work expectations” he had for Loder to increase his

       interaction with the MIAC.

   83. Johnston again instructed Loder to attend weekly MIAC staff meetings and engage

       more in round-table discussions about the cases he was working on for the FBI.

   84. Johnston told Loder to “share away” and Loder told Johnston that under FBI policy and

      the Privacy Act, he would need to submit a formal request for the information before

      personally identifying information (PII) on the subjects of federal investigations could

      be disclosed, and that he was required to document all disclosures on an FD-999 inserted

      into the case file.

   85. Loder told Johnston he had concerns about the contents and maintenance of MIAC

      database and its compliance with federal law.

   86. The next day, on March 27, 2018 Loder told SSRA Steps what Johnston wanted him to

       do, i.e. “share away” about his ongoing work on the JTTF and that he was

       uncomfortable with it because he could be held personally responsible for any

       unauthorized disclosures.

   87. SSRA Steps suggested Loder call A. Harris, the FBI’s Assistant Chief Division Council

       (Boston Division) to get her opinion.




                                               13
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 14 of 23                 PageID #: 14




   88. On March 28, 2018, Loder sent information to the MIAC via email regarding an

      individual who was observed engaging in suspicious behavior. He followed up on the

      email with a phone call to Johnston to provide context and explain the apparent nexus

      to criminal activity. In response, Johnston told Loder no nexus to criminal activity was

      required because 28 CFR 23 did not apply to MIAC activity database.

   89. On or about April 6, 2018, Loder spoke with ACDC Harris by telephone. He explained

      to Harris that he was being pressured by his State Police supervisor to “share away”

      FBI information with the MIAC, and that he was uncomfortable disclosing some of it

      without following protocol

   90. ACDC Harris confirmed that an FD-999 was required for every disclosure from FBI

      files and that Loder was expected to comply with FBI policy.

   91. On May 2, 2018, Loder met with AUSA R. Murphy at his office in Portland. Loder told

      Murphy about Johnston’s directive to involve the MIAC staff in his criminal

      investigations by regularly disclosing and discussing case information with them.

      AUSA Murphy said he was concerned about the directive and that Loder would be

      violating Department of Justice policy if he chose to comply with it.

   92. On May 5, 2018, Loder spoke with Johnston by phone and told him that he discussed

      his “share away” directive with the FBI’s Assistant Chief Division Council and one of

      the Assistant U.S. Attorneys, and that both advised against it.

   93. Specifically, Loder told Johnston the MIAC database was unlawful and in violation of

      the Privacy Act and other laws, gave specific examples described above, and that the

      routine sharing of case information with the MIAC without following proper procedure




                                             14
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 15 of 23                  PageID #: 15




      would be illegal and could trigger discovery obligations (notes, information, opinion of

      experts, etc.).

   94. Loder gave as a specific example of illegal activity by the MIAC the collection of data

      on individuals with connection to the Seeds of Peace summer camp without a nexus to

      criminal activity.

   95. Johnston became angry and said, “I can tell you right now the Lieutenant doesn’t want

      to hear that.” Johnston then demanded to know who Loder spoke with at the US

      Attorney’s Office, and then changed his mind and said he would straighten the matter

      out with Halsey Frank if he needed to.

   96. On May 15, 2018, Loder was summonsed to attend a meeting with Johnston and Lt.

      Ireland in his office at the MIAC. Loder was told he was being removed from the JTTF

      and reassigned to a fixed-duty desk job post at the MIAC in Augusta and expected to be

      present by 8am each morning and remain until 4pm, and that he would not be

      compensated for the additional travel time of over two hours a day from his home in

      Scarborough.

   97. Also, on May 15, 2018, Johnston circulated a memo amending and restricting the

      MIAC’s protocol going forward with respect to the collection, dissemination and

      retention of information related to the Seeds of Peace employees and counselors.

   98. Loder’s duties were reduced from that of a full-time criminal investigator and JTTF

      member based out of Portland to that of analyst/research clerk in Augusta. His new

      primary responsibilities were to conduct computer queries and help maintain the MIAC

      database – which made him extremely uncomfortable.




                                             15
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 16 of 23                      PageID #: 16




   99. In the meeting with Ireland and Johnston on May 15, 2018, Loder was told henceforth

          he could only act as an investigator “as needed,” and that he was being reassigned

          because he had been on the JTTF for five years.

   100.        Loder reminded Ireland there was no five-year limit, that he was told by Johnston

          back in March his status on the JTTF was secure, and that his predecessor served on the

          JTTF for over seven years before taking a lateral transfer to Major Crimes.

   101.        Lt. Ireland said he would ask the command staff if there were openings for a

      Detective elsewhere in the department.

   102.        When Loder requested a lateral transfer to Major Crimes, unlike other detectives

      at the State Police, Loder was subject to a promotional interview and denied the request.

   103.        On May 16, 2018, Loder received a call from Lt. Ireland and Johnston was also

          on the line. Loder was told his request for a lateral position was denied and that he was

          assigned the desk job at the MIAC.

   104.        By denying Loder a lateral transfer contrary to civil service laws, personnel rules,

          the CBA and past practice, defendants discriminated against Loder and treated him

          differently because he blew the whistle on the MIAC. For example, the detective who

          took the Major Crimes position Loder expressed interest in to Johnston in March (see

          para. 79 above) was given the job without being subject to an interview or application

          process, unlike Loder.

   105.        Loder told Ireland and Johnston on May 16, 2018 that by being assigned to a job

          that monitored the MIAC database he was being forced to engage in unlawful activity.

   106.        Ireland threatened to charge Loder with insubordination if he would not do what

      was being asked of him.



                                                 16
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 17 of 23                     PageID #: 17




   107.     Loder told Ireland and Johnston if his only option was to participate in the

      MIAC’s illegal activities or face progressive discipline, then they were forcing him out

      of the State Police and would force him to file a grievance.

   108.     On May 29, 2018, Loder was ordered to Augusta where he met with Johnston and

      Ireland and told in no uncertain terms he needed to “get on board with the fusion center

      concept.”

   109.     Loder told Ireland and Johnston again about his concerns about the MIAC and its

      data base that where illegal (referencing the illegal gun registry) in violation of state

      and federal law and FBI policy.

   110.     On May 31, Loder was called back to Lt. Ireland’s office along with Sgt. Johnston

      and Sgt. Tyler Stevenson and was issued a document titled “Maine State Police Record

      of Employee Performance” regarding “Task which employee has done poorly”

      outlining Loder’s alleged insubordination and violation of General Order E-24, Maine

      State Police Code of Conduct on May 16, 2018. (hereinafter the “Incident Report”)

   111.     Loder was told to sign the Incident Report, which states, among other things,

      “This job performance record shall not be put in your personnel file; it shall only go

      into your incident file. This record does not constitute any form of reprimand or

      discipline.”

   112.     Loder was told he could not grieve the Incident Report and that it would be added

      to his “incident file” and not included in his official personnel file.

   113.     The incident file containing the disparaging Incident Report is, on information

      and belief, maintained in the unlawful system of records and database maintained by

      the MIAC.



                                              17
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 18 of 23                    PageID #: 18




   114.    During the meeting on May 31st, Loder began having a severe headache and

      became nauseated. He told Lt. Ireland he was going to the restroom but Ireland ordered

      Loder to stay put and threatened him with insubordination if he left the room. Voices

      were raised and it became heated.

   115.    Loder felt threatened and not at liberty to leave. He repeatedly told Johnston and

      Ireland he was having a medical crisis but not allowed to leave the room.

   116.    Loder finally left the room in great distress and fear and went to the restroom. Sgt.

      Johnston and Lt. Ireland followed him into the hallway and demanded that he return to

      the office for further interrogation with raised voices and threatening gestures.

   117.    On June 5, 2018, Loder was interviewed by the Lt. Anna Love and Sgt. Carleton

      Small of the State Police Office of Professional Standards regarding an allegation of

      “insubordination and rudeness” brought against him by Ireland and Johnston. Maine

      State Troopers Association Executive Director Craig Poulin was also present.

   118.    During the interview, Loder told Lt. Love and Sgt. Carleton that per State Police

      policy, refusing to follow an order to engage in illegal activity did not constitute

      insubordination.

   119.    Ultimately, the insubordination allegation was not sustained while the rudeness

      allegation was sustained.

   120.    Loder took medical leave and eventually returned to the State Police. He took a

      demotion as a State Trooper after being denied any other positions except the desk job

      at the MIAC to oversee its database.




                                             18
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 19 of 23                    PageID #: 19




          Count 1 – Whistleblower Protection Act, 26 M.R.S.A. § 831, et seq.

                                      Maine State Police

   121.     Plaintiff repeats and reallege the allegations contained in the foregoing paragraphs

      as if set forth fully herein.

   122.     Loder at all material times was an “employee” and the defendant Maine State

      Police an “employer” under the Whistleblower Protection Act.

   123.     Loder made a legally protected whistleblower report, or reports, in good faith of

      what he reasonably had cause to believe were violations of law or rules of the State of

      Maine and/or the United States.

   124.     Reports included the unlawful collection, transmission, and retention of private

      information in violation of state and federal law, as described herein.

   125.     Loder’s legally protected whistleblower report or reports were the cause, and/or a

      substantial or motivating factor, in the defendants’ threats, relocation, discipline, unfair

      treatment and/or adverse employment actions described herein, including his removal

      from the JTTF.

   126.     Loder has fully complied with the procedural requirements of 5 M.R.S.A.

      § 4612(6).

   127.     The actions of defendants violated 26 M.R.S.A. § 831, et seq.

                   Count 2 – First Amendment – Retaliation, 42 U.S.C. § 1983

                          Johnston and Ireland in their personal capacities

   128.     Plaintiff repeats and reallege the allegations contained in the foregoing paragraphs

      as if set forth fully herein.




                                              19
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 20 of 23                  PageID #: 20




   129.     When Loder spoke up about the legality of the MIAC database with Johnston and

      Ireland, he spoke as a citizen on a matter of public concern.

   130.     Concern about the MIAC and its potential violation of Maine citizens’ privacy

      rights have been widely reported in the newspaper and on broadcast TV and radio news

      since 2015. See Secretive fusion center to play key role in Maine drug crackdown,

      Portland Press Herald, September 6, 2015, for instance.

   131.     Loder exercised his First Amendment rights when he reported the MIAC’s

      unlawful activity to the State Police, the FBI and the U.S. Attorney’s Office as

      described herein.

   132.     On balance the interests of Loder, as a citizen, in commenting upon matters of

      public concern outweigh the interest of the State Police in promoting the efficiency of

      the public services it performs through its employees.

   133.     Loder’s protected speech was a substantial or motivating factor in the adverse

      employment actions he suffered as described herein.

   134.     Scot Ireland and Michael Johnston, acting in their individual capacities and under

      color of state law, violated Loder’s First Amendment rights and unlawfully retaliated

      against him for exercising such rights in violation of 42 U.S.C. § 1983 by committing

      the aforementioned acts.

          Count 3 – 42 U.S.C. § 1983 and 28 C.F.R Part 23 and 5 U.S.C. § 552a

                   Johnston and Ireland in their individual capacities

   135.     Plaintiff repeats and reallege the allegations contained in the foregoing paragraphs

      as if set forth fully herein.

   136.     The executive order establishing the MIAC incorporates Section 28 of the Code



                                             20
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 21 of 23                       PageID #: 21




      of Federal Regulations.

   137.     The maintenance of the MIAC’s unlawful database, including records related to

      Loder’s Incident Report and the so-called “incident file” pertaining to him; records

      relating to NICS background checks and the lawful purchase of firearms, and records

      related to the lawful political and social activity of Loder and other individuals, is a

      violation of 23 CFR §23 and the Privacy Act.

   138.     By committing the above described acts, Johnston and Ireland, acting under color

      of state law, deprived Loder of the rights, privileges, or immunities secured by the

      Constitution and laws of the United States in violation of 42 U.S.C. § 1983.

                               Count 4 – Privacy Act – 5 U.S.C § 552a

                                            State Police/MIAC

   139.     Plaintiff repeats and reallege the allegations contained in the foregoing paragraphs

      as if set forth fully herein.

   140.     As a member of the JTTF, Loder was obligated to comply with the Privacy Act.

   141.     Loder is the lawful owner and purchaser of firearms.

   142.     As the POC for the FBI for purposes of the NICS program, the MIAC is an

      “agency” and/or the agent of the FBI, and therefore subject the Privacy Act.

   143.     The actions of State Police and MIAC related to the maintenance of an illegal

      database that retains records relating to citizens lawful activity (including Loder) is a

      violation of the Privacy Act.

   144.     By ordering Loder to share confidential information and otherwise maintain an

      illegal database would subject him to criminal penalties under 5 U.S.C. § 552a(i).

   145.     Conditioning Loder’s position on the JTTF on his willingness to violate the

      Privacy Act is a violation thereof.

                                               21
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 22 of 23                   PageID #: 22




   146.     The unlawful retention of Loder’s “incident file” containing the Incident Report,

      in addition to the above described information related to the lawful purchase of firearms

      and political and social activity of him and other Maine citizens is a violation of the

      Privacy Act.

   147.     Retaliating against Loder for refusing to violate the Privacy Act is unlawful.

   148.     As an “agency” by contract with the FBI, and/or an agent of an “agency MIAC’s

      intentional and willful failure to comply with the Privacy Act as an agent of the FBI has

      had an adverse effect on Loder and caused substantial damage.

               Count 5– Due Process under the 14th Amendment, 42 U.S.C. § 1983

                          Johnston and Ireland in their personal capacities

   149.     Plaintiff repeats and reallege the allegations contained in the foregoing paragraphs

      as if set forth fully herein.

   150.     Loder had a property right in his job as a member of the JTTF.

   151.     Acting under color of state law, Johnston and Ireland deprived Loder of rights

      secured to him by the 5th and 14th Amendment to the U.S. Constitution by denying him

      due process of the law.

                                      Count 6 – Injunctive Relief

   152.     Plaintiff repeats and reallege the allegations contained in the foregoing paragraphs

      as if set forth fully herein.

   153.     The actions described herein are in in violation of 25 M.R.S. § 2014 that prohibits

      them from keeping or causing to be kept a registry of privately owned firearms.

   154.     The maintenance of the MIAC data base including the maintenance indefinitely of

      records regarding the lawful purchased firearms during a state of emergency violates 25



                                             22
Case 2:20-cv-00157-JDL Document 1 Filed 05/07/20 Page 23 of 23                        PageID #: 23




         M.R.S. § 2011(5)(A)(3)

     155.        The activities of defendants are in violation of 28 CFR Part 23, the Privacy Act,

         the constitution, and other federal and state laws, it should be enjoined.

WHEREFORE, George Loder respectfully requests that this Honorable Court:

       A.        Enter judgment declaring that the defendants’ practices complained of herein are

unlawful and in violation of Loder’s rights.

       B.        Grant a permanent injunction enjoining the defendants, its officers, agents,

successors and assigns, from engaging in any employment policy or practice which retaliates

further against Loder for exercising his rights under federal and state law.

       C.        Reinstate Loder to his position on the JTTF or provide compensation in lieu of

reinstatement.

       D.        Order the defendants to pay compensatory, nominal and punitive damages.

       E.        Order defendants to pay pre-judgment and post judgment interest, reasonable

attorney’s fees, and costs; and

       F.        Grant such other and further relief as this Court deems just and appropriate.




Dated: May 7, 2020                             _/s/ Cynthia A Dill_______________
                                               Cynthia A. Dill, Esq.
                                               Attorney for Plaintiff George Loder
                                               Bar No. 007055



CYNTHIA A. DILL, ESQ.
511 Congress Street
Portland, Maine 04101
(207) 749-7749
cynthia@dillesquire.com


                                                  23
